Case 2:11-cv-02630-JPM-cgc Document 1 Filed 07/27/11 Page 1 of 7   PageID 1
Case 2:11-cv-02630-JPM-cgc Document 1 Filed 07/27/11 Page 2 of 7   PageID 2
Case 2:11-cv-02630-JPM-cgc Document 1 Filed 07/27/11 Page 3 of 7   PageID 3
Case 2:11-cv-02630-JPM-cgc Document 1 Filed 07/27/11 Page 4 of 7   PageID 4
Case 2:11-cv-02630-JPM-cgc Document 1 Filed 07/27/11 Page 5 of 7   PageID 5
Case 2:11-cv-02630-JPM-cgc Document 1 Filed 07/27/11 Page 6 of 7   PageID 6
Case 2:11-cv-02630-JPM-cgc Document 1 Filed 07/27/11 Page 7 of 7   PageID 7
